IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA
CEDAR RAPIDS DIVISION

JAMES CUMMINS, ) No. CV04-1028 EJM

Plaintiff,
Vs. WAIVER OF SERVICE OF SUMMONS
THE ARCHDIOCESE OF DUBUQUE,

Defendant.

TO: The Archdiocese of Dubuque

| acknowledge receipt of your request that | waive service of summons in the action
of James Cummins vs. The Archdiocese of Dubuque, which is case number CV04-
1028EJM in the United States District Court for the Northern District of lowa, Cedar Rapids
Division. | have also received a copy of the complaint in the action, two copies of this
instrument, and a means by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the
complaint in this lawsuit by not requiring that | (or the entity on whose behalf | am acting)
be served with Judicial process in the manner provided by Rule 4.

| (or the entity on whose behalf | am acting) will retain all defenses or objections to
the lawsuit or to the jurisdiction or venue of the court except for objections based on a
defect in the summons or in the service of summons.

| understand that a judgment may be entered against me (or the party on whose
behalf | am acting) if an answetf of motion under Rule 12 is not served upon you within 60
days after June 21, 2004, or n 90 days after that date if the request was sent outside
the United States.

DATE

 

PRINTED/TYPED NAME: Brendan T. Quann

 

Attorney The Archdiocese of Dubuque

AS of

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DUTY TO AVOID UNNECESSARY COSTS OF SERVICE OF SUMMONS

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs
of service of the summons and complaint. A defendant located in the United States who, after being notified of an action
and asked by a plaintiff located in the United States to waive service of a summons, fails to do so will be required to bear
the cost of such service unless good cause be shown for its failure to sign and return the waiver.

It is not good cause for a failure to waive service that a party believes that the complaint is unfounded or that
the action has been brought in an improper place or in a court that lacks jurisdiction over the subject matter of the action
or over its person or property. A party who waives service of the summons retains all defenses and objections (except
any relating to the summons or to the service of the summons), and may later object to the jurisdiction of the court or
to the place where that action has been brought.

A defendant who waives service must within the time specified on the waiver form serve on the plaintiff's
attorney (or unrepresented plaintiff) a response to the complaint and must also file a signed copy of the response with
the court. If the answer or motion is not served within this time, a default judgment may be taken against that defendant.
By waiving service, a defendant is allowed more time to answer than if the summons had been actually served when the
request for waiver of service was received. :

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